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UNITED sTATEs DISTRICT cOURT FEB 0 8 2005

DlsTRICT OF sOUTH DAKGTA §`A/_

CLERK

WESTERN DIVISION
UNITED sTATEs OF AMERICA, ) CR 04~50131
Plaintiff, §
vs. § 0R1)ER

JOHN WATERS, §
Defendant. §

Good cause appearing, it is hereby
ORDERED that Defendant’s First Motion in Limine [doc. #19] is GRANTED.

. 'Z+*\
Dated thls day of February, 2005.

BY THE COURT:

ANDREW W. BOGUE `

SENIOR DISTRICT JUDGE

